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OF TEXAS






NO. WR-66,460-01






EX PARTE CECIL RAY VEGA, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 24025A-422 IN THE 422ND DISTRICT COURT


FROM KAUFMAN COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of delivery of a
controlled substance and sentenced to eight years' imprisonment. He did not appeal his conviction. 

	Applicant contends, among other things, that his plea was involuntary because he was not
properly admonished by the trial court. In addition, Applicant contends that trial counsel was
ineffective for (1) not objecting to the trial court's failure to properly admonish Applicant; (2) not
objecting to the State's use of both Tex. Health &amp; Safety Code § 481.134(b) and § 481.134(c);
and (3) advising Applicant that his sentence would be discharged within one year. Applicant has
alleged facts that, if true, might entitle him to relief. Strickland v. Washington, 466 U.S. 608 (1984);
Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000). In these circumstances, additional
facts are needed. As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim. App. 1997),
the trial court is the appropriate forum for findings of fact. The trial court may use any means set out
in Tex. Code Crim. Proc. art. 11.07, § 3(d). In the appropriate case, the trial court may rely on its
personal recollection. Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing. Tex. Code Crim. Proc. art. 26.04. 

	  The trial court shall make findings of fact and conclusions of law in regard to Applicant's
claim that he was not properly admonished. The trial court shall also determine whether trial
counsel's performance was deficient and, if so, whether Applicant was prejudiced. The trial court
shall also make any other findings of fact and conclusions of law that it deems relevant and
appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues. The
issues shall be resolved within 90 days of this order. If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order. Any extensions of time shall be
obtained from this Court. 


Filed: January 10, 2007

Do not publish


